          Case 1:17-cv-10029-LGS Document 314 Filed 10/25/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 TIBOR KISS,                                                  :
                                              Plaintiff,      :   17 Civ. 10029 (LGS)
                                                              :
                            -against-                         :        ORDER
                                                              :
 CLINTON GREEN NORTH, LLC et al.,                             :
                                              Defendants. :
 ------------------------------------------------------------ :
                                                              X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the jury trial in this matter was scheduled to commence the week of October

11, 2021, subject to the availability of courtrooms during the COVID-19 pandemic. It is hereby

        ORDERED that the jury trial in this matter is tentatively adjourned to February 7,

2022, subject to the availability of courtrooms during the COVID-19 pandemic.

Dated: October 25, 2021
       New York, New York
